       DISTRICT COURT OF APPEAL OF THE STATE OF FLORIDA
                              FOURTH DISTRICT

                          JOSE LUIS REYNA,
                              Appellant,

                                    v.

                         STATE OF FLORIDA,
                              Appellee.

                           No. 4D2024-1091

                           [August 22, 2024]

   Appeal of order denying rule 3.850 motion from the Circuit Court for
the Fifteenth Judicial Circuit, Palm Beach County; Caroline C. Shepherd,
Judge; L.T. Case No. 502000CF013843AXXX.

   Jose L. Reyna, Wewahitchka, pro se.

   No appearance required for appellee.

PER CURIAM.

   Affirmed.

KLINGENSMITH, C.J., KUNTZ and ARTAU, JJ., concur.

                          *          *          *

   Not final until disposition of timely filed motion for rehearing.
